                      UNITED STATES OF AMERICA
                   MERIT SYSTEMS PROTECTION BOARD


DONNA M. LOWE,                                  DOCKET NUMBER
             Appellant,                         DE-0714-19-0285-I-1

             v.

DEPARTMENT OF VETERANS                          DATE: August 21, 2024
  AFFAIRS,
            Agency.



             THIS ORDER IS NONPRECEDENTIAL 1

      Donna M. Lowe , Tucson, Arizona, pro se.

      Maxine N. Romero , Phoenix, Arizona, for the agency.


                                      BEFORE

                           Cathy A. Harris, Chairman
                        Raymond A. Limon, Vice Chairman
                           Henry J. Kerner, Member*

      *Member Kerner did not participate in the adjudication of this appeal.

                                REMAND ORDER

      The appellant has filed a petition for review of the initial decision, which
sustained her removal pursuant to 38 U.S.C. § 714. For the reasons discussed
below, we GRANT the appellant’s petition for review, VACATE the initial


1
   A nonprecedential order is one that the Board has determined does not add
significantly to the body of MSPB case law. Parties may cite nonprecedential orders,
but such orders have no precedential value; the Board and administrative judges are not
required to follow or distinguish them in any future decisions. In contrast, a
precedential decision issued as an Opinion and Order has been identified by the Board
as significantly contributing to the Board’s case law. See 5 C.F.R. § 1201.117(c).
                                                                                  2

decision, and REMAND this matter to the field office for further adjudication in
accordance with this Remand Order.

            DISCUSSION OF ARGUMENTS ON REVIEW
The appellant’s arguments on review do not provide a basis to disturb the initial
decision.
      The appellant asserts that the administrative judge failed to consider all of
the evidence in the record and disagrees with some of the administrative judge’s
findings of fact.   Petition for Review (PFR) File, Tab 1 at 4-6.        We have
considered all of the appellant’s assertions in this regard; however, we find that
they do not provide a basis to disturb any of the administrative judge’s reasoned
factual findings.   See Crosby v. U.S. Postal Service, 74 M.S.P.R. 98, 105-06
(1997) (finding no reason to disturb the administrative judge’s findings when she
considered the evidence as a whole, drew appropriate inferences, and made
reasoned conclusions); see also Broughton v. Department of Health and Human
Services, 33 M.S.P.R. 357, 359 (1987) (same).
      The appellant contends that the administrative judge improperly informed
her that she needed to limit her witnesses and documentary evidence. PFR File,
Tab 1 at 4-6. An administrative judge has broad discretion to regulate the course
of the hearing and to exclude evidence and witnesses that have not been shown to
be relevant, material, and nonrepetitious.      Thomas v. U.S. Postal Service,
116 M.S.P.R. 453, ¶ 4 (2011); 5 C.F.R. § 1201.41(b)(8), (10). To obtain reversal
of an initial decision on the ground that the administrative judge abused his
discretion in excluding evidence, the appellant must show on review that relevant
evidence, which could have affected the outcome, was disallowed.        Sanders v.
Social Security Administration, 114 M.S.P.R. 487, ¶ 10 (2010).           Here, the
appellant has not made such a showing.       Indeed, the appellant withdrew her
requests for three witnesses that she had initially sought, and the administrative
judge disallowed only one of her proffered witnesses on the basis that his
anticipated testimony was “unnecessarily cumulative.” Initial Appeal File (IAF),
                                                                                  3

Tab 12 at 5, Tab 13 at 2, Tab 14 at 5; see Thomas, 116 M.S.P.R. 453, ¶ 4. The
appellant did not object to this reasoned ruling; thus, her contentions regarding
witnesses are unavailing. See Tarpley v. U.S. Postal Service, 37 M.S.P.R. 579,
581 (1988) (stating that an appellant’s failure to timely object to rulings on
witnesses precludes her doing so on petition for review). Moreover, the appellant
neither identifies the testimony and documentary evidence that she was allegedly
precluded or dissuaded from introducing nor explains how this evidence could
have affected the outcome of her appeal. See Sanders, 114 M.S.P.R. 487, ¶ 10.
Thus, the appellant’s evidentiary contentions are unavailing.
      Lastly, the appellant avers that she is unable to “go back and review any
information in regards to the hearing” because she was not provided with a
written copy of the hearing transcript. PFR File, Tab 1 at 5. She explains that
she attempted to obtain a copy of the transcript, but she was told that she would
have to pay for the transcript, which she could not afford. Id. An appellant is not
entitled to a copy of the written hearing transcript free of charge. See 5 C.F.R.
§ 1201.53(b) (“Any party may request that the court reporter prepare a full or
partial transcript, at the requesting party’s expense.”). Indeed, Board regulations
provide that a recording of the hearing may serve as the official hearing record.
5 C.F.R. § 1201.53(a).    Here, the official hearing record, i.e., the hearing
recording, was available to the appellant.     IAF, Tab 17, Hearing Recording.
Thus, the appellant’s contentions are unpersuasive.
      Accordingly, the appellant’s petition for review does not meet the standard
set forth in 5 C.F.R. § 1201.115 for granting Board review, and her petition
would ordinarily be denied.

We remand the matter for the administrative judge to provide the parties with an
opportunity to present evidence and argument regarding whether the agency’s
error in sustaining the removal based on substantial evidence harmed the
appellant.
      Notwithstanding the above findings, remand of the appeal is required for a
different reason. To this end, the deciding official here sustained the agency’s
                                                                                       4

action because she found that there was substantial evidence to support the charge
levied against the appellant, i.e., conduct unbecoming a Federal employee. IAF,
Tab 4 at 10. After the initial decision in this case was issued, the U.S. Court of
Appeals for the Federal Circuit found in Rodriguez v. Department of Veterans
Affairs, 8 F.4th 1290 (Fed. Cir. 2021), that the agency had erred by applying the
substantial evidence standard to its internal review of a disciplinary action under
38 U.S.C. § 714. Rodriguez, 8 F.4th at 1296-1301. The Federal Circuit found
that substantial evidence 2 is the standard of review to be applied by the Board, not
the agency, and that the agency’s deciding official must apply the preponderance
of the evidence 3 standard in determining whether the appellant’s performance or
misconduct warrants the action at issue.           Id. at 1298-1301; see Bryant v.
Department of Veterans Affairs, 26 F.4th 1344, 1347 (Fed. Cir. 2022) (agreeing
with the appellant’s contention that the agency’s decision was legally flawed
when the deciding official found the charge proved merely by substantial
evidence rather than preponderant evidence, as required by Rodriguez).
      The Federal Circuit’s decision in Rodriguez applies to all pending cases,
regardless of when the events at issue took place.         Semenov v. Department of
Veterans Affairs, 2023 MSPB 16, ¶ 22. The administrative judge and the parties
here did not have the benefit of Rodriguez prior to the close of the record. We
therefore remand this case for adjudication of whether the agency’s application of
the substantial evidence standard was harmful error.          See id., ¶ 23 (finding it
appropriate to apply the harmful error standard from 5 U.S.C. § 7701(c)(2) to
actions taken under 38 U.S.C. § 714). A harmful error is an error by the agency
in the application of its procedures that is likely to have caused the agency to

2
  Substantial evidence is the degree of relevant evidence a reasonable person,
considering the record as a whole, might accept as adequate to support a conclusion,
even though other reasonable persons might disagree. 5 C.F.R. § 1201.4(p).
3
  Preponderant evidence is that degree of relevant evidence a reasonable person,
considering the record as a whole, would accept as sufficient to find a contested fact is
more likely to be true than untrue. 5 C.F.R. § 1201.4(q).
                                                                                5

reach a different conclusion from the one it would have reached in the absence or
cure of the error.   Ronso v. Department of the Navy, 122 M.S.P.R. 391, ¶ 14
(2015); 5 C.F.R. § 1201.4(r).    The appellant bears the burden of proving her
affirmative defenses by preponderant evidence. 5 C.F.R. § 1201.56(b)(2)(i)(C).
On remand, the administrative judge should provide the parties with an
opportunity to present evidence and argument, including a supplemental hearing
if requested by the appellant, addressing whether the agency’s use of the
substantial evidence standard constituted harmful error.

On remand, the administrative judge should allow the parties an opportunity to
present evidence and argument regarding whether the agency considered the
Douglas factors in determining the penalty.
      In Connor v. Department of Veterans Affairs, 8 F.4th 1319 (Fed. Cir.
2021), which also was issued subsequent to the initial decision, the Federal
Circuit found that the Board must consider and apply the factors set forth in
Douglas v. Veterans Administration, 5 M.S.P.R. 280, 305-06 (1981), in its review
of an agency’s penalty selection under an action taken pursuant to 38 U.S.C.
§ 714. Connor, 8 F.4th at 1325-26. The Federal Circuit found that, although
section 714 precludes the Board from mitigating the agency’s chosen penalty,
“[i]t does not alter the penalty review with respect to the Douglas factors,” id.
at 1326, and that, although the Board cannot mitigate the penalty, “if the Board
determines that the [agency] failed to consider the Douglas factors or that the
chosen penalty is unreasonable, the Board must remand to the [agency] for a
redetermination of the penalty,” id. at 1326-27 (citing Brenner v. Department of
Veterans Affairs, 990 F.3d 1313, 1325 (Fed. Cir. 2021) (explaining that “if the
[Board] concludes that the [agency’s] removal decision is unsupported by
substantial evidence, the [Board] should remand to the [agency] for further
proceedings”)).   As we found with the Rodriguez case, the Federal Circuit’s
decision in Connor applies to all pending cases, regardless of when the events at
issue took place. See Semenov, 2023 MSPB 16, ¶¶ 22, 49-50.
                                                                                       6

        Here, the administrative judge did not address the Douglas factors, and it is
unclear from the record as to whether the agency properly considered the Douglas
factors in deciding to remove the appellant. IAF, Tab 18, Initial Decision (ID)
at 16. On remand, the administration judge shall permit the parties to submit
additional evidence and argument, including a supplemental hearing if requested
by the appellant, addressing the penalty issue.       See Semenov, 2023 MSPB 16,
¶ 50.    In reviewing the penalty, the administrative judge should determine
whether the agency proved by substantial evidence that it properly applied the
Douglas factors and whether the agency’s penalty selection was reasonable and, if
not, the administrative judge should remand the appellant’s removal to the agency
for a new decision on the appropriate penalty. See id. (citing Connor, 8 F.4th
at 1326-27; Sayers v. Department of Veterans Affairs, 954 F.3d 1370, 1375-76,
1379 (Fed. Cir. 2020)). 4

                                    ORDER
        For the reasons discussed above, we remand this case to the field office for
further adjudication in accordance with this Remand Order. As outlined above,
the administrative judge shall address whether the agency’s error in applying the
substantial evidence burden of proof to its action was harmful.                  If the
administrative judge determines that the agency’s error in applying the incorrect
burden of proof was not harmful, then he shall determine whether the agency
proved by substantial evidence that it applied the relevant Douglas factors and
that the penalty was reasonable. 5 The administrative judge may, if appropriate,
incorporate into the remand decision his prior findings concerning the agency’s

4
  If remanded to the agency, the agency should be mindful of its obligations to provide
the appellant with the necessary due process. See Brenner, 990 F.3d at 1324 (observing
that the VA Accountability Act maintains due process protections for employees); Ward
v. U.S. Postal Service, 634 F.3d 1274, 1279-80 (Fed. Cir. 2011); Stone v. Federal
Deposit Insurance Corporation, 179 F.3d 1368, 1375-77 (Fed. Cir. 1999).
5
 If the administrative judge finds that the agency committed harmful error such that the
disciplinary action is not sustained, he need not address the penalty issue.
                                                                                      7

proof of its charge. 6   The administrative judge may also incorporate into the
remand decision, if appropriate, his prior findings regarding the appellant’s
affirmative defenses of disparate treatment disability discrimination and
retaliation for equal employment opportunity activity, but in doing so, the
administrative judge must apply the analytical framework set forth in Pridgen v.
Office of Management and Budget, 2022 MSPB 31. 7




FOR THE BOARD:                          ______________________________
                                        Gina K. Grippando
                                        Clerk of the Board
Washington, D.C.




6
  If any argument or evidence adduced on remand affects the administrative judge’s
prior analysis of any issue in this appeal, he should address such argument or evidence
in the remand decision.
7
  The administrative judge concluded that the appellant failed to prove her affirmative
defenses because she failed to show that any prohibited considerations were a
motivating factor in the agency’s decision to remove her. ID at 15-16. After the initial
decision was issued, the Board issued it its decision in Pridgen. In light of the
administrative judge’s findings, the change in analytical framework articulated in
Pridgen appears not to provide a basis to disturb the administrative judge’s conclusion
regarding the appellant’s affirmative defenses.
